Case No. 1:22-cv-00712-WJM-MDB           Document 113        filed 12/06/24    USDC Colorado
                                         pg 1 of 10




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                               Judge William J. Martínez

Civil Action No. 22-cv-0712-WJM-MDB

LOURDES M. TEODOSIO,
AMBER BROCK,
GAROON J. GIBBS-RACHO, and,
DAMON A. PARKS., SR., individually and on behalf of all others similarly situated,

       Plaintiffs,

v.

DAVITA, INC.,
THE BOARD OF DIRECTORS OF DAVITA, INC.,
THE PLAN ADMINISTRATIVE COMMITTEE OF DAVITA, INC. and,
JOHN DOES 1–30,

       Defendants.


               FINAL ORDER APPROVING SETTLEMENT AGREEMENT,
                       ATTORNEY’S FEES AND COSTS, AND
                  CLASS REPRESENTATIVES’ SERVICE PAYMENTS


       The Court held a hearing on December 4, 2024, to determine the fairness of the

parties’ proposed Settlement Agreement, 1 which was preliminarily approved in the

Court’s Order Granting Preliminary Approval of Class Action Settlement, Preliminarily

Certifying a Class for Settlement Purposes, Approving Form and Manner of Settlement

Notice, Preliminarily Approving Plan of Allocation, and Scheduling a Date for a Fairness

Hearing (“Preliminary Approval Order”). At the fairness hearing, the Court also

addressed Plaintiffs’ Unopposed Motion for Attorney Fees, Reimbursement of


       1
        Except as otherwise defined herein, all capitalized terms used in this Final Order shall
have the same meanings as ascribed to them in the Settlement Agreement executed by counsel
on behalf of the Named Plaintiffs, all Class Members, and Defendants, respectively.
Case No. 1:22-cv-00712-WJM-MDB          Document 113      filed 12/06/24   USDC Colorado
                                        pg 2 of 10




Expenses, and Class Representative Service Awards. Due notice having been given

and the Court having been fully advised in the premises,

       IT IS HEREBY ORDERED:

       1.      The Court has jurisdiction over the subject matter of the Action and over

all Settling Parties, including all members of the Settlement Class.

       2.      For the sole purpose of settling and resolving the Class Action, the Court

certifies this action as a class action pursuant to Rules 23(a) and (b)(1) of the Federal

Rules of Civil Procedure. The Settlement Class is defined as:

               All persons who participated in the Plan at any time during the
               Class Period (March 23, 2016 through the date of the Preliminary
               Approval Order), including any Beneficiary of a deceased Person
               who participated in the Plan at any time during the Class Period,
               and any Alternate Payee of a Person subject to a Qualified
               Domestic Relations Order who participated in the Plan at any time
               during the Class Period. Excluded from the Settlement Class are
               the members of the Plan Administrative Committee of DaVita Inc.
               during the Class Period

       3.      The Court finds for the sole purpose of settling and resolving the Class

Action that:

               (a)   as required by FED. R. CIV. P. 23(a)(1), the Settlement Class is

       ascertainable from records kept with respect to the Plan and from other objective

       criteria, and the Settlement Class is so numerous that joinder of all members is

       impracticable;

               (b)   as required by FED. R. CIV. P. 23(a)(2), there are one or more

       questions of law and/or fact common to the Settlement Class;




                                             2
Case No. 1:22-cv-00712-WJM-MDB         Document 113       filed 12/06/24    USDC Colorado
                                       pg 3 of 10




             (c)     as required by FED. R. CIV. P. 23(a)(3), the claims of the Named

      Plaintiffs are typical of the claims of the Settlement Class that the Named

      Plaintiffs seek to certify;

             (d)     as required by FED. R. CIV. P. 23(a)(4), the Named Plaintiffs will

      fairly and adequately protect the interests of the Settlement Class in that: (i) the

      interests of the Named Plaintiffs and the nature of the alleged claims are

      consistent with those of the Settlement Class members; and (ii) there appear to

      be no conflicts between or among the Named Plaintiffs and the Settlement Class;

             (e)     as required by FED. R. CIV. P. 23(b)(1), the prosecution of separate

      actions by individual members of the Settlement Class would create a risk of: (i)

      inconsistent or varying adjudications as to individual Settlement Class members

      that would establish incompatible standards of conduct for the parties opposing

      the claims asserted in this Action; or (ii) adjudications as to individual Settlement

      Class members that, as a practical matter, would be dispositive of the interests of

      the other members not parties to the individual adjudications, or substantially

      impair or impede the ability of such persons to protect their interests;

             (f)     as required by FED. R. CIV. P. 23(g), Class Counsel are capable of

      fairly and adequately representing the interests of the Settlement Class, and

      Class Counsel: (i) have done appropriate work identifying or investigating

      potential claims in the Action; (ii) are experienced in handling class actions; and

      (iii) have committed the necessary resources to represent the Settlement Class.

      4.     The Court hereby appoints Named Plaintiffs Lourdes M. Teodosio, Amber

Brock, Garoon J. Gibbs-Racho, and DaMon A. Parks, Sr. as Class Representatives for




                                             3
Case No. 1:22-cv-00712-WJM-MDB          Document 113      filed 12/06/24    USDC Colorado
                                        pg 4 of 10




the Settlement Class and Capozzi Adler, P.C., as Class Counsel for the Settlement

Class.

         5.    The Court hereby finds that the Settlement Class has received proper and

adequate notice of the Settlement, the Fairness Hearing, Class Counsel’s application

for attorneys’ fees and reimbursement of litigation costs and for Case Contribution

Awards to the Named Plaintiffs, and the Plan of Allocation, such notice having been

given in accordance with the Preliminary Approval Order. Such notice included

individual notice to all members of the Settlement Class who could be identified through

reasonable efforts, as well as notice through a dedicated Settlement Website on the

internet, and provided valid, due, and sufficient notice of these proceedings and of the

matters set forth in this Order and included sufficient information regarding the

procedure for the making of objections. Such notice constitutes the best notice

practicable under the circumstances and fully satisfies the requirements of FED. R. CIV.

P. 23 and the requirements of due process.

         6.    The Court hereby approves the Settlement and orders that the Settlement

shall be consummated and implemented in accordance with its terms and conditions.

         7.    Pursuant to FED. R. CIV. P. 23(e), the Court finds that the Settlement

embodied in the Settlement Agreement is fair, reasonable, and adequate to the Plan

and the Settlement Class, and more particularly finds that:

               (a)    The Settlement was negotiated at arm’s length, under the auspices

         of the Mediator, by Defense Counsel, on the one hand, and the Named Plaintiffs

         and Class Counsel on behalf of the Settlement Class, on the other hand;




                                             4
Case No. 1:22-cv-00712-WJM-MDB         Document 113      filed 12/06/24   USDC Colorado
                                       pg 5 of 10




             (b)    Plaintiffs and Defendants had sufficient information to evaluate the

      settlement value of the Class Action;

             (c)    If the Settlement had not been achieved, Named Plaintiffs and the

      Settlement Class faced the expense, risk, and uncertainty of extended litigation;

             (d)    The amount of the Settlement, $2,000,000.00, is fair, reasonable,

      and adequate, taking into account the costs, risks, and delay of trial and appeal.

      The method of distributing the Gross Settlement Amount is efficient and requires

      no filing of claims. The Settlement terms related to attorneys’ fees do not raise

      any questions concerning fairness of the Settlement, and there are no

      agreements, apart from the Settlement, required to be considered under FED. R.

      CIV. P. 23(e)(2)(C)(iv). The Gross Settlement Amount is within the range of

      settlement values obtained in similar cases;

             (e)    At all times, the Named Plaintiffs and Class Counsel have acted

      independently of Defendants and in the interest of the Settlement Class; and

             (f)    The Court has duly considered and overruled the sole filed

      objection to the Settlement.

      8.     The Plan of Allocation is finally approved as fair, reasonable, and

adequate. The Settlement Administrator shall distribute the Net Settlement Amount in

accordance with the Plan of Allocation and the Settlement Agreement. The Settlement

Administrator shall have final authority to determine the share of the Net Settlement

Amount to be allocated to each Class Member in accordance with the Plan of Allocation

approved by the Court.




                                              5
Case No. 1:22-cv-00712-WJM-MDB           Document 113       filed 12/06/24   USDC Colorado
                                         pg 6 of 10




       9.     The Court finds that all requirements of the Class Action Fairness Act, 28

U.S.C. § 1711, et seq., have been met.

       10.    The releases and covenants not to sue set forth in the Settlement

Agreement, including but not limited to Article 7 of the Settlement Agreement, together

with the definitions contained in the Settlement Agreement relating thereto, are

expressly incorporated herein in all respects except with respect to Section 1.39.2 of the

Settlement Agreement which is modified as follows:

       Released Claims includes claims that arise out of, relate in any way to, are based
       on, or have any connection with (a) the overall structure, administration,
       management, or monitoring of the Plan’s investment menu; (b) the selection,
       oversight, retention, removal, monitoring, compensation, fees, expenses, or
       performance of the Plan’s investment options; (c) the selection, monitoring,
       oversight, retention, fees, expenses, or performance of the Plan’s administrative
       and/or recordkeeping service providers; (d) disclosures or failures to disclose
       information regarding the Plan’s investment options, fees, or administrative
       and/or recordkeeping service providers; (e) the monitoring and retention of Plan
       fiduciaries, including with respect to the Plan’s investment options or
       administrative and/or recordkeeping service providers; (f) any alleged breach of
       the duty of loyalty, care, or prudence under ERISA relating to the Plan’s
       investment options or administrative and/or recordkeeping service providers;
       and/or (g) prohibited transactions involving the Plan’s administrative and/or
       recordkeeping services.

       11.    The Releases are effective as of the Settlement Effective Date.

Accordingly, the Court orders that, as of the Settlement Effective Date, the Plan, the

Class Representatives, and all Class Members (and their respective heirs, beneficiaries,

executors, administrators, estates, past and present partners, officers, directors,

predecessors, successors, assigns, agents, and attorneys), on their own behalf and on

behalf of the Plan, hereby fully, finally, and forever settle, release, relinquish, waive, and

discharge all Released Parties (including Defendants) from the Released Claims,

whether or not such Class Members have received or will receive a monetary benefit




                                              6
Case No. 1:22-cv-00712-WJM-MDB          Document 113       filed 12/06/24   USDC Colorado
                                        pg 7 of 10




from the Settlement, whether or not such Class Members have actually received the

Settlement Notice or read the Settlement Notice, whether or not such Class Members

have filed an objection to the Settlement or to any application by Class Counsel for an

award of Attorneys’ Fees and Costs, and whether or not the objections or claims for

distribution of such Class Members have been approved or allowed.

       12.    The Class Representatives, Class Members, and the Plan hereby settle,

release, relinquish, waive, and discharge any and all rights or benefits they may now

have, or in the future may have, under any law relating to the releases of unknown

claims, including without limitation, Section 1542 of the California Civil Code, which

provides: “A general release does not extend to claims that the creditor or the releasing

party does not know or suspect to exist in his or her favor at the time of executing the

release and that, if known by him or her, would have materially affected his or her

settlement with the debtor or released party.” The Class Representatives and Class

Members waive any and all provisions, rights and benefits conferred by any law or of

any State or territory within the United States or any foreign country, or any principle of

common law, which is similar, comparable or equivalent in substance to Section 1542 of

the California Civil Code.

       13.    The Class Representatives, the Class Members, and the Plan acting

individually or together, or in combination with others, are hereby permanently and

finally barred and enjoined from suing the Released Parties in any action or proceeding

alleging any of the Released Claims.

       14.    The Class Representative and each Class Member hereby releases the

Released Parties, Defense Counsel, the Plan, and Class Counsel for any claims,




                                             7
Case No. 1:22-cv-00712-WJM-MDB          Document 113       filed 12/06/24      USDC Colorado
                                        pg 8 of 10




liabilities, and attorneys’ fees and expenses arising from the allocation of the Gross

Settlement Amount or Net Settlement Amount and for all tax liability and associated

penalties and interest as well as related attorneys’ fees and expenses.

       15.    The operative Amended Complaint and all claims asserted therein in the

Class Action are hereby dismissed with prejudice and without costs to any of the

Settling Parties and Released Parties other than as provided for in the Settlement

Agreement.

       16.    The Court shall retain jurisdiction to resolve any disputes or

challenges that may arise as to the performance of the Settlement Agreement or any

challenges as to the performance, validity, interpretation, administration, enforcement,

or enforceability of the Settlement Notice, Plan of Allocation, this Final Order, or the

Settlement Agreement or the termination of the Settlement Agreement.

       17.    Any motion to enforce this Final Order or the Settlement Agreement may

be filed in this Court, and the provisions of the Settlement Agreement and/or this Final

Order may also be asserted by way of an affirmative defense or counterclaim in

response to any action that is asserted to violate the Settlement Agreement.

       18.    In the event that the Settlement Agreement is terminated, in accordance

with its terms, this Final Order shall be rendered null and void, ab initio, and shall be

vacated nunc pro tunc, and this action shall for all purposes with respect to the Parties

revert to its status as of the day immediately before the day the Settlement was

reached. The Parties shall be afforded a reasonable opportunity to negotiate a new

case management schedule.

       19.    With respect to any matters that arise concerning the implementation of




                                              8
Case No. 1:22-cv-00712-WJM-MDB           Document 113       filed 12/06/24    USDC Colorado
                                         pg 9 of 10




distributions to Class Members who are current participants in the Plan (after allocation

decisions have been made by the Settlement Administrator in its sole discretion

pursuant to the Plan of Allocation), all questions not resolved by the Settlement

Agreement shall be resolved by the Plan administrator or other fiduciaries of the Plan, in

accordance with applicable law and the governing terms of the Plan.

       20.    Within 21 calendar days following the issuance of all settlement payments

to Class Members as provided by the Plan of Allocation approved by the Court, the

Settlement Administrator shall prepare and provide to Class Counsel and Defense

Counsel a list of each person who received a settlement payment or contribution from

the Qualified Settlement Fund and the amount of such payment or contribution.

       21.    Upon entry of this Order, all Settling Parties, the Settlement Class, and the

Plan shall be bound by the Settlement Agreement and this Final Order.

       22.    The Court hereby finds that the requested amount of attorney fees and

costs is reasonable considering the effort expended on this case by Class Counsel, the

risks and difficulties inherent in ERISA litigation, the discovery and detailed review

thereof, the skill required, and the dedication displayed over the litigation of this matter.

Class Counsel has thus far spent about 437.40 hours on this matter, which is

reasonable considering the complexity of ERISA class-action cases. Hence, the Court

approves the attorneys’ fees and costs as requested.

       23.    The Court hereby approves an incentive service payment of $10,000.00

each to the Class Representatives. The Court finds these amounts to be reasonable,

given each of their relative participation in the case. The amounts requested are also

reasonable as compared to the size of the overall recovery.




                                              9
Case No. 1:22-cv-00712-WJM-MDB      Document 113      filed 12/06/24   USDC Colorado
                                    pg 10 of 10




      Dated this 6th day of December, 2024.

                                              BY THE COURT:



                                              ______________________
                                              William J. Martínez
                                              Senior United States District Judge




                                        10
